Case 6:22-cv-02217-PGB-LHP
9/11/22, 6:30 AM

Document 1-7 Filed 11/30/22 Page 1 of 1 PagelD 18
AT&T

~) Back to usage

Data, text & talk logs

Device: David Tom | 321.917.0760

Billing period: Aug 29, 2022 - Present
Showing details for Talk usage

View details by: = Talk

Totals for this billing period: — 152 calls 1525 $0.00
minutes
Date / Time Contact Location Call Type Minutes Charge
($)

09/01/2022 02:20PM Ferarra Law INCOMING M2AM 1 0.00
09/01/2022 01:46PM 985.771.5421 INCOMING DT 3 0.00
09/01/2022 = =12:30PM 863.419.5564 INCOMING M2AM 2 0.00
09/01/2022 = 11:32AM 954.651.2645 INCOMING M2AM 4 0.00
08/31/2022 08:56PM 321.961.5686 COCOA M2AM 63 0.00
08/31/2022 06:02PM 321.259.9500 INCOMING DT 1 0.00
08/31/2022 04:42PM 407.743.7924 INCOMING DT 4 0.00
08/31/2022 03:01PM JL Cell ST JOHNS M2AM 84 0.00
08/31/2022 01:16PM 321.372.1372 INCOMING DT 3 0.00
08/31/2022 01:13PM 321.209.6072 ORLANDO DT 2 0.00
08/31/2022 01:13PM 321.209.6072 ORLANDO DT 1 0.00
08/31/2022 01:05PM 321.626.0241 INCOMING M2AM 8 0.00
08/31/2022 01:01PM 321.626.0241 COCOA M2AM 1 0.00
08/31/2022 12:16PM 321.723.9673 MELBOURNE DT 4 0.00
08/31/2022 11:50AM JL Cell ST JOHNS M2AM 1 0.00
08/31/2022 10:57AM 617.901.6447 INCOMING M2AM 37 0.00
08/30/2022 08:45PM 253.205.7247 INCOMING M2AM 14 0.00
08/30/2022 08:44PM 253.205.7247 AUBURN M2AM 1 0.00
08/30/2022 OQ7:00PM 484.626.3942 BETHLEHEM M2AM 104
08/30/2022 04:44PM 813.412.5159 CALL WAIT CW 5 aE IEE’S
08/30/2022 04:22PM JL Cell ST JOHNS M2AM 23 ( :
08/30/2022 04:13PM 321.626.0889 INCOMING M2AM 9

KWLANE

 

https:/Awww.att.com/olam/talkUsageDetailPage.myworld ?billStatementID=RecentUnbilled&ctn=321 9170760&ban=5230278501 37&action=SelectPage... 1/3
